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                              United States District Court
                              Southern District of Indiana
                                 Indianapolis Division

 JOHN DOE,

         Plaintiff,

         v.                                     Case No. 1:20-cv-00123-JRS-DML

 INDIANA UNIVERSITY at BLOOMINGTON,
 PROVOST LAUREN ROBEL, KATHY
 ADAMS-REISTER, LIBBY SPOTTS, ROBERT
 BILLINGHAM, MICHAEL COURTNEY, and
 GRANT VOGTMAN

         Defendants.

                        ORDER GRANTING PARTIES’ AGREED
                       MOTION REGARDING CASE DEADLINES

    Plaintiff John Doe initiated this case on January 14, 2020. The parties initially

 litigated this case as a Temporary Restraining Order (ECF No. 1; No. 19), but

 Plaintiff withdrew that request on February 4, 2020 (ECF No. 37). On February 26,

 2020, Defendants filed a motion to dismiss all claims (ECF No. 40; No. 41). On

 March 17, 2020, Plaintiff filed an amended complaint (ECF No. 37); and Defendants

 will file another motion to dismiss that amended complaint on or before March 31,

 2020.

    In these circumstances, the Court agrees with the parties that it would serve the

 interests of judicial economy to allow that Rule 12 briefing to run its course before

 the parties incur expenses in that regard. The Court, being duly advised, therefore

 STAYS the initial case deadlines contemplated by Federal Rules of Civil Procedure

 16 and 26 pending resolution of Defendants’ Rule 12 motions.
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    SO ORDERED.




  Date: 3/27/2020




    Distribution to all parties of record via
    CM/ECF.




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